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Exhibit B
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Case 1:24-cv-11334-FDS_—.Document.1-2._ Filed.05/20/24 Page 2 of 4

‘ EALTH OF MASSACHUSETTS 4%
SUFFOLK, ss. COMMON SUPERIOR COURT

CIVIL Wy oy -

no. 2 OG FE

Bop S - OTUGBAHE -

PLAINTIFE(S) (PRINT NAME CLEARLY)

* AyneNDeD comes

VIRGIN META TIC, ARLIME, Ricans CHARLES NicHo LAS bes

DEFENDANT(S) (PRINT NAME CLEARLY)

Sa ictw/ nA oO

1. Plaintififs) reside(s) at eS
athe Countyof_— //-. f -A7_. Wel TED STATES: =
vO

2. Defendant(s) reside(s) at 1/55 FEDERKE SF surTe: Fae
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Street City of Town.
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Case 1:24-cv-11334-FDS__Document 1-2 Filed 05/20/24.__Page-3_of.4
Case_1:24-cv-11334-FDS__Document.1-2_Filed_05/20/24__ Page_4. of 4

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4. Answer this question only if you arc sceking a restraining order against the defendant(s):

Have there been any other Court ot imi ivil, i i
" proceedings, ciminal or civil, involving you or your
family members and the defendant or defendant’s family members? *

Yes No

If'Yes, describe the Court proceeding(s) and its‘their status.

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SIGNED UNDER THE PENALTIES OF PERJURY.

DATE: 65/15/2 ony Lela pilena .
Signatére’of Plaintifi(s)
D2VMEPONSET VALLEY
Street Address
PERERA L BOS TA Mie O21:
‘Town
(FEFE-E44.
Telephone

